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                   UNITED STATES COURT OF APPEALS
                                                                      FILED
                           FOR THE NINTH CIRCUIT
                                                                      JUN 08 2022
                                                                     MOLLY C. DWYER, CLERK
                                                                      U.S. COURT OF APPEALS




 KEVIN T. KELLY,                                No. 22-55570

               Plaintiff - Appellant,
                                                D.C. No. 3:18-cv-02615-JO-DEB
   v.                                           U.S. District Court for Southern
                                                California, San Diego
 CITY OF POWAY, a municipal
 corporation,                                   TIME SCHEDULE ORDER

               Defendant - Appellee.



The parties shall meet the following time schedule.

If there were reported hearings, the parties shall designate and, if necessary, cross-
designate the transcripts pursuant to 9th Cir. R. 10-3.1. If there were no reported
hearings, the transcript deadlines do not apply.

Thu., July 7, 2022             Transcript shall be ordered.
Mon., August 8, 2022           Transcript shall be filed by court reporter.
Thu., September 15, 2022 Appellant's opening brief and excerpts of record
                         shall be served and filed pursuant to FRAP 31 and
                         9th Cir. R. 31-2.1.
Mon., October 17, 2022         Appellee's answering brief and excerpts of record
                               shall be served and filed pursuant to FRAP 31 and
                               9th Cir. R. 31-2.1.

The optional appellant's reply brief shall be filed and served within 21 days of
service of the appellee's brief, pursuant to FRAP 31 and 9th Cir. R. 31-2.1.
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Failure of the appellant to comply with the Time Schedule Order will result in
automatic dismissal of the appeal. See 9th Cir. R. 42-1.

                                           FOR THE COURT:

                                           MOLLY C. DWYER
                                           CLERK OF COURT

                                           By: Janne Nicole Millare Rivera
                                           Deputy Clerk
                                           Ninth Circuit Rule 27-7
